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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff

 v.                                                          Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,                                            Electronically Filed

                                Defendant.


______________________________________________________________________________

         MOTION IN LIMINE TO EXCLUDE CERTAIN TEXT MESSAGES
______________________________________________________________________________

       Comes now Defendant Bryan Douglas Conley, by and through counsel, and hereby

moves this Court to exclude certain text messages allegedly sent by Mr. Conley to K.C. and

Elizabeth Heather Glass. The substance of these unauthenticated text messages are irrelevant

and, even if relevant, their probative value is substantially outweighed by the risk of causing

unfair prejudice, confusing the issues, and misleading the jury. Further, the text messages are

inadmissible hearsay.

       K.C. is purportedly Mr. Conley’s ex-wife. (See Exhibit 1, Affidavit of for Search

Warrant in 3:19-MJ-453, at pp.18-19, 56-57.) According to an FBI affidavit for a search warrant

in Western District of Kentucky Case No. 3:19-MJ-453-HBB, K.C. advised that she had been

receiving threatening text messages from unknown numbers since spring of 2018. (Id.) One of

those text messages, memorialized in the search warrant affidavit, reads:

               Hi
               You seem to never return
               my messages so further
               action will be taken
               So I know where you live
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               Work
               Kids dr and school
               You fucked my husband
               and think you can get
               away with it?
               You have 30 day to get
               ahold of you x and
               answer immediately when
               I text back
               If not your family across
               the street and kids will
               pay for it.
               No cops.
               10K
               A BBC
               Camera
               And hotel is what you will need

(Id.) According to the affidavit, a screenshot of the text message is included as an attachment to

the search warrant affidavit. (Id.)

       Elizabeth Heather Glass purportedly resides in Apex, North Carolina. In April 2018, Ms.

Glass filed a police report for harassing phone calls. (See Exhibit 2, Apex, North Carolina Police

Report.) In doing so, Ms. Glass reported that, after initially meeting Bryan Conley on an online

gaming platform, they met in person in North Carolina and engaged in sexual relations. (Id.)

Sometime thereafter, according to the police report, Ms. Glass began receiving harassing

messages from Mr. Conley, but none of the messages were threatening. (Id.) Mr. Glass claimed

that while she had returned his text messages on occasion, she had also told him to stop

messaging her. (Id.) Ms. Glass reported that some of the harassing messages she received

would come from phone numbers different from Mr. Conley’s phone number. (Id.)

       1.      The communications reported by K.C. and Ms. Glass are irrelevant.

       Federal Rule of Evidence 401 states “evidence is relevant if it has any tendency to make a

fact more or less probable than it would be without the evidence, and the fact is of consequence



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in determining the action.” Generally speaking, relevant evidence is admissible, and irrelevant

evidence is not admissible. F.R.E. 402. Here, the text messages reported by K.C. and Ms. Glass

do not tend to make any fact that is of consequence in determining this action more or less

probable. Thus, the substance of the text messages is irrelevant and the text messages are

inadmissible.

        2.      Even if the substance of the text messages is relevant, any probative value the
                text messages may have is substantially outweighed by the risk of causing
                prejudice, confusing the issues, or misleading the jury.

        Even if the Court determines the substance of the text messages are relevant, the F.R.E.

403 balancing test mandates the exclusion of the text messages in this case. Under F.R.E. 403,

even relevant evidence may be excluded “if its probative value is substantially outweighed by a

danger of . . . unfair prejudice, confusing the issues, [or] misleading the jury. . . .”

        Here, while K.C. and Ms. Glass allege that Mr. Conley sent the text messages, they both

admit the messages came from various numbers. Consequently, neither K.C. nor Ms. Glass can

say with certainty that Mr. Conley sent the text messages. Because no one can prove Mr. Conley

sent the text messages, the text messages’ probative value is greatly diminished. On the other

hand, the introduction of the text messages would cause unfair prejudice, confuse the issues, and

mislead the jury. Permitting the introduction of the text messages would cause great prejudice to

Mr. Conley because the jury would believe that if Mr. Conley sent such text messages, he should

be punished for that behavior regardless of whether his charged conduct goes unproven.

Introduction of these text messages would also confuse the issues and mislead the jury. Because

no one can prove Mr. Conley sent these text messages, the admission of the text messages would

result in a trial-within-a-trial just on the issue of authenticating the text messages and whether




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they actually came from Mr. Conley. This would be a distraction from the actual issues in the

case and an inefficient use of the Court’s time and resources.

       The government is likely to argue that the text messages are needed as a basis for

establishing background information related to their investigation of Mr. Conley. However, the

fact that law enforcement talked with K.C., or obtained a copy of the police report filed by Ms.

Glass, is sufficient to show the background of their investigation. The government need not

introduce the substance of the text messages reported by K.C. and Ms. Glass to law enforcement

in order to establish the background of their investigation.

       Because any probative value these text messages may have is so greatly outweighed by

the risk of causing unfair prejudice, confusing the issues, and misleading the jury, the Court

should exclude the text messages from the trial in this matter.

       3.      The text messages are also inadmissible hearsay.

       Neither K.C. nor Ms. Glass can say with certainty that Mr. Conley sent the text messages

they reported to law enforcement. While both believe Mr. Conley sent the text messages, the

text messages cannot be authenticated. Further, no recognized exceptions to the rule against

hearsay would permit the admission of the text messages. (See F.R.E. 803.) Because the text

messages cannot be authenticated as coming from Mr. Conley, they cannot be admitted under

F.R.E. 804(b)(3) as a statement against interest. Moreover, because both K.C. and Ms. Glass

claim – but cannot prove – Mr. Conley sent the text messages, the text messages themselves are

actually hearsay within hearsay, as defined in F.R.E. 805, and would require an exception to each

layer of hearsay before the government could admit the text messages. Simply put, the substance

of the text messages amount to inadmissible hearsay and should be excluded.




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       For all of the reasons above, the Court should exclude from admission at trial the

substance of the text messages reported to law enforcement by K.C. and Ms. Glass.



                                                     Respectfully submitted,

                                                     /s/ Joshua F. Barnette
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                                CERTIFICATE OF SERVICE

        I hereby certify that on 27th day of March, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to
all counsel of record.



                                                     /s/ Joshua F. Barnette
                                                     Joshua F. Barnette




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